     Case 6:24-cv-06100-FPG-MJP Document 14 Filed 05/21/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK



 JESSICA MEYER,                                             Case No. 6;24-cv-06I00-FPG

                         Plaintiff,

        V.



 MICHAEL TODD BEAUTY,L.P.

                         Defendant.




                               STIPULATION FOR DISMISSAL


       Plaintiff, JESSICA MEYER, and Defendant, MICHAEL TODD BEAUTY, L.P., by and

through their undersigned counsel, hereby stipulate that;

       1.      This action shall be DISMISSED, with prejudice, as between all parties;

       2.      Each party shall bear their own costs and fees, including attorneys' fees, incurred

in connection with this action, and;

       3.      No party hereto is an infant or incompetent.

   Dated: May 20, 2024

NYE STIRLING, HALE,                                 LAW OFFICES OF NOLAN KLEIN,P.A.
MILLER & SWEET LLP


By; _ /s/ Benjamin J. Sweet                         By;_ /s/ Nolan Klein
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Attorneysfor Plaintiff                              Attorneysfor Defendant

                    SO ORDERED THIS^i_DAY OP


                     HON.^ANKJh.GERACI,|JR.
                     Chief U.S. DistAct Judge
